Case 2:20-mj-16087-ARM Document1 Filed 09/17/20 Page 1 of 1 PagelD: 1

 

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY 2ao- 1bos)

 

 

Magistrate Case No. 9275246 (Class A)
UNITED STATES OF AMERICA

Vv.

MARKICE T. LINCOLN Offense on a Federal Reservation

Kel Meee em eet Lee Imed eee

BEFORE the Honorable Anthony R. Mautone, a United States Magistrate for the Judicial
District of New Jersey, specially designated to try and sentence persons committing misdemeanor
offenses against the laws of the United States on a Federal reservation, personally appeared this day

Capt Jacqueline M. Morley, Special Assistant U.S. Attorney for the District of New Jersey, who,
under oath charges that:

On or about the 14th day of July 2020, at Joint Base McGuire-Dix-Lakehurst, New Jersey, in
the Judicial District of New Jersey,

MARKICE T, LINCOLN did commit:

Simple Possession of CDS (Marijuana) in violation of 21 USC 844.

The name of the Complainant is Capt Jacqueline M. Morley.

| weer
JACQUELINE M- MORLEY, Capt, USAF
Special Assistant United States Attorney

SWORN TO BEFORE ME, AND SUBSCRIBED IN MY PRESENCE, JOINT BASE
MCGUIRE-DIX-LAKEHURST, NEW JERSEY, ON THIS 17TH DAY OF SEPTEMBER 2020.

fo
( SA
HONORABLE ANJHONY R. MAUTONE

United States Magistrate Judge

  

C

 

 
